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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 19-80182-Civ-Altman/Brannon


  PATRICIA ROBALINO DESIGNS, LLC,

         Plaintiff,
  v.

  CORAL & STONES UNLIMITED, CORP., et al.,

        Defendants.
  __________________________________________/

              MOTION TO MODIFY MEDIATION DEADLINE (UNOPPOSED)

         Defendants, Coral & Stones Unlimited, Corp. and Rafael Bild (“Defendants”), by and

  through their undersigned counsel and pursuant to this Court’s “Amended Order Setting Trial and

  Pre-Trial Schedule, Requiring Mediation, and Referring Certain Matters to Magistrate Judge,”

  hereby file their Motion to Modify Mediation Deadline, and state as follows:

         1.      This Court’s “Amended Order Setting Trial and Pre-Trial Schedule, Requiring

  Mediation, and Referring Certain Matters to Magistrate Judge” states that “the parties must have

  completed mediation and filed a mediation report” by October 8, 2019.

         2.      Defendants respectfully request the deadline for mediation be extended until

  November 25, 2019, for the following reasons:

                 a.     Currently, mediation is scheduled for September 9, 2019.

                 b.     Counsel for Defendants will be unavailable due to cardiac surgery/medical

  leave for at least 2-3 weeks commencing August 13, 2019.

                 c.     Due to the above, Defendants require additional time to obtain discovery

  prior to mediation. The September 9, 2019 date is no longer realistic, due to counsel’s upcoming

  medical leave, which was not anticipated.
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                  d.      Defendants’ principal will be out of the country from September 10, 2019

  – September 24, 2019 on an annual overseas purchasing trip that is critical to Defendants’ business.

                  e.      The parties’ selected mediator, Brian Spector, has no open mediation dates

  in October but has a number of open dates in November.

          3.      This request is made in good faith and not for purposes of delay.

          4.      Undersigned counsel certifies that he has conferred with Plaintiff’s counsel in an

  attempt to resolve this matter, and Plaintiff’s counsel does not oppose the requested extension, due

  to the nature of the medical issue and leave.

          5.      The case is currently scheduled for trial during the two-week trial calendar

  beginning on January 21, 2020. Mediating in November, 2019 would provide ample time to

  explore settlement prior to trial.

          WHEREFORE Defendants respectfully request that this Court extend the deadline for

  completion of mediation to November 25, 2019.

          Respectfully submitted this 26th day of July, 2019.

   By: /s/ Daniel K. Bandklayder                             John C. Carey
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   CERTIFICATE OF GOOD FAITH CONFERENCE; CONFERRED BUT UNABLE TO
               RESOLVE ISSUES PRESENTED IN THE MOTION
  Pursuant to Local Rule 7.1(a)(3)(A), I hereby certify that counsel for the movant has conferred
  with all parties or non-parties who may be affected by the relief sought in this motion in a good
  faith effort to resolve the issues and this motion is unopposed.
                                                  By:_/s/ Daniel K. Bandklayder_______________
                                                      Daniel K. Bandklayder, Esq.


                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing was served via EC/CMF this 26th day

  of July, 2019 to the attorneys on the below Service List.

                                                  By: /s/ Daniel K. Bandklayder
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